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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION




    UNITED STATES OF AMERICA

    v.                                                       Case No. 8:11-cr-363-T-23TBM
                                                                     8:13-cv-981-T-23TBM
    HAROL BARONA BRAVO
                                                     /


                                                ORDER

           Bravo’s motion to vacate under 28 U.S.C. § 2255 (Doc. 1) challenges the

    validity of his conviction for conspiring to possess with the intent to distribute

    cocaine while aboard a vessel, for which offense he was sentenced to 135 months.

    The motion is time-barred and lacks merit.

           Rule 4, Rules Governing Section 2255 Cases, requires both a preliminary

    review of the motion to vacate and a summary dismissal “[i]f it plainly appears from

    the face of the motion, any attached exhibits, and the record of prior proceedings that

    the moving party is not entitled to relief . . . .” Accord Wright v. United States, 624 F.2d

    557, 558 (5th Cir. 1980)1 (finding the summary dismissal of a Section 2255 motion

    was proper “[b]ecause in this case the record, uncontradicted by [defendant], shows


           1
               Unless later superseded by Eleventh Circuit precedent, a Fifth Circuit decision issued
    before October 1, 1981, binds this court. Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th
    Cir. 1981) (en banc).
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    that he is not entitled to relief”); Hart v. United States, 565 F.2d 360, 361 (5th Cir.

    1978) (“Rule 4(b) of § 2255 allows the district court to summarily dismiss the motion

    and notify the movant if ‘it plainly appears from the face of the motion and any

    annexed exhibits and the prior proceedings in the case that the movant is not entitled

    to relief.’”).

           The Anti-Terrorism and Effective Death Penalty Act creates a limitation for a

    motion to vacate. “A 1-year period of limitation shall apply to a motion under this

    section. The limitation period shall run from the latest of . . . the date on which the

    judgment of conviction becomes final . . . .” 28 U.S.C. § 2255(f)(1). Because his

    conviction was final in December, 2011, Bravo’s limitation expired one year later, in

    December, 2012. Bravo dated his motion to vacate in April, 2013, which is more

    than a year late. Consequently, Bravo’s motion to vacate is time-barred under

    Section 2255(f)(1).

           Bravo is not entitled to a delayed start of the limitation under Section

    2255(f)(3), which provides for beginning the limitation on “the date on which the

    right asserted was initially recognized by the Supreme Court, if that right has been

    newly recognized by the Supreme Court and made retroactively applicable to cases

    on collateral review . . . .” Bravo asserts entitlement to relief under United States v.

    Bellaizac-Hurtado, 700 F.3d 1245 (11th Cir. 2012). Although Bravo filed his motion

    to vacate within one year of Hurtado, that decision affords Bravo no relief. A delayed

    start of the limitation under Section 2255(f)(3) requires the recognition of a new right

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    by the Supreme Court. Hurtado is a circuit court decision, not a Supreme Court

    decision. As a consequence, Bravo cannot benefit from Hurtado under Section

    2255(f)(3)’s provision for a delayed start of the limitation.

          Bravo asserts timeliness under Section 2255(f)(4), which commences the

    limitation from “the date on which the facts supporting the claim or claims presented

    could have been discovered through the exercise of due diligence.” Bravo alleges

    that in January, 2013, he learned that he was captured “on the territorial sea of a

    foreign county.” Bravo admitted to his location in the Carribean Sea when he

    pleaded guilty. Bravo’s “discovery” in January, 2013, is that Hurtado draws a

    distinction between territorial water and international water. “International water”

    is all area beyond twelve miles from land. United States v. McPhee, 336 F.3d 1269,

    1273 (11th Cir. 2003). In his plea agreement, Bravo admitted that his vessel was

    “approximately forty (40) nautical miles northeast of the Panamanian coast in

    international waters of the Caribbean Sea.” Doc. 65 at 12, 8:11-cr-363-T-23TBM

    Consequently, Bravo did not recently discover a new fact.

          Bravo asserts entitlement to equitable tolling because “it will clearly be

    inappropriate to imprison Petitioner under an offense that Congress did not have the

    power to enact, and this Honorable Court lacked the required subject-matter

    jurisdiction to adjudicate the case.” (Doc. 1 at 2) This argument depends on the

    applicability of Hurtado, which is factually distinguishable. Bravo was convicted of

    violating the Maritime Drug Law Enforcement Act (“MDLEA”), 46 U.S.C.

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    §70503(a), et. seq., which is based on the constitutional authority granted to Congress

    “[t]o define and punish Piracies and Felonies committed on the high Seas, and

    Offences against the Law of Nations.” U.S. Const., Art. I, § 8, cl. 10. Hurtado, 700

    F.3d at 1248-49, explains the breadth of jurisdiction under the MDLEA.

               The Supreme Court has interpreted that Clause to contain three
               distinct grants of power: the power to define and punish
               piracies, the power to define and punish felonies committed on
               the high seas, and the power to define and punish offenses
               against the law of nations. See United States v. Smith, 18 U.S. (5
               Wheat.) 153, 158–59, 5 L. Ed. 57 (1820). The first two grants
               of power are not implicated here: piracy is, by definition,
               robbery on the high seas, United States v. Furlong, 18 U.S. (5
               Wheat.) 184, 198, 5 L. Ed. 64 (1820), and the Felonies Clause
               is textually limited to conduct on the high seas, see U.S. Const.,
               Art. I, § 8, cl. 10. The United States relies instead on the third
               grant—the Offences Clause—as the source of congressional
               power to proscribe the defendants’ drug trafficking in the
               territorial waters of Panama. The question whether Congress
               has the power under the Offences Clause to proscribe drug
               trafficking in the territorial waters of another nation is an issue
               of first impression in our Court.

          Hurtado rejects the argument that the “Offences Clause” supports the MDLEA

    for drug activities that occur within a foreign country’s territorial water. “Because

    drug trafficking is not a violation of customary international law, we hold that

    Congress exceeded its power, under the Offences Clause, when it proscribed the

    defendants’ conduct in the territorial waters of Panama.” 700 F.3d at 1258. Hurtado

    is inapplicable to Bravo because his vessel was in international water when he was

    taken into custody. Bravo argues that, based on the “Third United Nations

    Convention on the Law of the Seas” (“UNCLOS”), territorial water extends “200

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    miles seaward.” International economic limits establish no limit on a country

    enforcing its laws upon a stateless vessel. The UNCLOS recognizes the twelve mile

    limit for enforcing laws. “Every State has the right to establish the breadth of its

    territorial sea up to a limit not exceeding 12 nautical miles, measured from baselines

    determined in accordance with this Convention.” UNCLOS, Part II § 2, Art. 3.

    Hurtado is inapplicable and Bravo is not entitled to a delayed start of the limitation

    because Bravo was forty miles asea from Panama and, as a consequence, not within

    a country’s territorial water.

           Accordingly, the motion to vacate under 28 U.S.C. § 2255 (Doc. 1) is

    DISMISSED as time-barred and Bravo is not entitled to a delayed start of the

    limitation under Hurtado. The clerk shall close this case.

                              DENIAL OF BOTH A
                        CERTIFICATE OF APPEALABILITY
                     AND LEAVE TO APPEAL IN FORMA PAUPERIS

           Bravo is not entitled to a certificate of appealability (“COA”). A prisoner

    seeking a writ of habeas corpus has no absolute entitlement to appeal a district

    court’s denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court must

    first issue a COA. Section 2253(c)(2) permits issuing a COA “only if the applicant

    has made a substantial showing of the denial of a constitutional right.” To merit a

    COA, Bravo must show that reasonable jurists would find debatable both (1) the

    merits of the underlying claims and (2) the procedural issues he seeks to raise. See 28

    U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 478 (2000); Eagle v. Linahan, 279

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    F.3d 926, 935 (11th Cir 2001). Because the motion to vacate is clearly time-barred

    and he is not entitled to a delayed start of the limitation, Bravo cannot meet Slack’s

    prejudice requirement. 529 U.S. at 484. Finally, Bravo is not entitled to appeal in

    forma pauperis because he is not entitled to a COA.

           Accordingly, a certificate of appealability is DENIED. Leave to proceed in

    forma pauperis on appeal is DENIED. Bravo must pay the full $455 appellate filing

    fee without installments unless the circuit court allows Bravo to proceed in forma

    pauperis.

           ORDERED in Tampa, Florida, on May 9, 2013.


                                                    Steven D. Merryday
                                            _________________________________
                                                 STEVEN D. MERRYDAY
                                            UNITED STATES DISTRICT JUDGE




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